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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Phillip Viscio,                                  No. CV-16-08045-PCT-GMS
10                         Plaintiff,                 ORDER
11   v.
12   R.M.B. Developments LLC, et al.,
13                         Defendants.
14
15            Pursuant to the parties’ Stipulation to Dismiss with Prejudice (Doc. 18) and good
16
     cause appearing,
17
18            IT IS HEREBY ORDERED that this lawsuit is dismissed with prejudice, with

19   each party to bear their own costs and attorneys’ fees.
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              Dated this 13th day of June, 2016.
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23                              Honorable G. Murray Snow
24                              United States District Judge

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